Case 8:16-cv-02145-SDM-JSS Document 26 Filed 12/30/16 Page 1 of 1 PageID 91




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   ESTELA TREJO LUJO,

          Plaintiff,

   v.                                                     CASE NO. 8:16-cv-2145-T-23JSS

   CAL-MAINE FOODS, INC., et al.,

         Defendants.
   ____________________________________/

                                            ORDER

          The defendant announces (Doc. 25) a settlement of this action. Under Local

   Rule 3.08(b), this action is DISMISSED subject to the right of any party within sixty

   days (1) to submit a stipulated form of final order or judgment or (2) to move to

   vacate the dismissal for good cause. If the parties seek to dismiss the claim with

   prejudice, the proposed settlement must accompany the stipulated dismissal. See

   generally Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982)

   (requiring approval of an FLSA settlement). The clerk is directed to close the case.

          ORDERED in Tampa, Florida, on December 30, 2016.
